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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

HITOSHI OMBE,

               Plaintiff,

v.                                                                    No. 2:20-cv-00786-RB-GBW

GEORGE COOK, et al.,

               Defendants.

        MEMORANDUM OPINION AND ORDER IMPOSING FILING RESTRICTIONS

        THIS MATTER comes before the Court on pro se Plaintiff’s Response to the Order to

Show Cause, filed January 6, 2021. (Doc. 46.)

        After discussing the Court’s power to impose filing restrictions and setting forth Plaintiff’s

abusive filing history, the Court ordered Plaintiff to show cause why the Court should not impose

filing restrictions. (Doc. 41.) Plaintiff’s only argument opposing the imposition of filing

restrictions is premised on Plaintiff’s assertions that: (i) Plaintiff has autism disability and “an

essential element of autism disability is communication disability” (Doc. 46 at 7); and (ii) Plaintiff

is “legally required to have disability accommodation” (id. at 9). Plaintiff concludes:

        I completely object [to] the proposed imposition of filing restriction. It is the
        evasion of the judge responsibility. It is my response to Robert C. Brack refusal to
        discuss to find a good compromise between conflicting requirements: deadlines by
        the rules vs. my disability which prevents me from completing the required tasks
        in time. In fact, I do not expect to file anything at this moment until an appeal
        process is completed. I am the victim of the system failure for which Robert C.
        Brack has made a leading contribution to the failure because he has refused to
        observe the standards mandated by the Congress [in the Americans with Disabilities
        Act].”

(Id. at 11.)
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          Plaintiff has not shown cause why the Court should not impose filing restrictions. Much of

Plaintiff’s Response is not relevant to the Order to Show Cause because it discusses the conduct

of the Judges, the Clerk of Court, and the lawyers involved in Plaintiff’s previous cases during the

past several years and asserts that they owe Plaintiff damages. Despite the Court clearly explaining

the basis for its dismissal of this case, Plaintiff has filed 18 documents after the Court dismissed

this case, many of which argue that Plaintiff is entitled to equitable tolling or seek relief related to

equitable tolling, and some of which were redundant. (See Doc. 41.) The Court expended valuable

resources addressing Plaintiff’s documents in three post-judgment Orders. The Court has

previously notified Plaintiff that it cannot grant him “unfettered access to file countless notices

and papers that do little to further this case.” See Ombe v. New Mexico, No. 1:14-cv-00763-RB-

KBM, Order to Show Cause re: Filing Restrictions at *2 (Doc. 191) (D.N.M. Jan. 10, 2018).

Plaintiff’s Response in this case provides no justification for his filing documents that do little to

advance this case.

          The Court imposes the following filing restrictions on Plaintiff:

          Plaintiff will be enjoined from making further filings in this case except one document

containing objections to this order, a notice of appeal, and a motion for leave to proceed on appeal

in forma pauperis; and the Clerk will be directed to not accept for filing any additional submissions

by Plaintiff in this case other than one document containing objections to this order, a notice of

appeal, or a motion for leave to proceed on appeal in forma pauperis, unless a licensed attorney

who is admitted to practice before this Court and has appeared in this action signs the proposed

filing.




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       Plaintiff also will be enjoined from initiating further litigation in this Court, and the Clerk

will be directed to not accept for filing any initial pleading that he submits, unless a licensed

attorney who is admitted to practice before this Court signs the pleading.

       IT IS SO ORDERED.



                                              ________________________________
                                              ROBERT C. BRACK
                                              SENIOR U.S. DISTRICT JUDGE




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